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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

      UNITED STATES OF AMERICA

      v.                                             Case No. 8:22-cr-437-WFJ-SPF

      JOHN LEE
       a/k/a “Giovanni”

                   UNITED STATES’ MOTION FOR FINAL ORDER
                      OF FORFEITURE FOR DIRECT ASSETS

           The United States moves this Court for entry of a Final Order of Forfeiture for

  Direct Assets1 for the following property:

                 a.     Watches

                        (1)   Audemars Piguet Platinum Royal Oak Watch with Grey
                              Face.

                        (2)   Audemars Piguet Royal Oak Watch with Gold Face.

                        (3)   Audemars Piguet Royal Oak Watch with Purple Face.

                        (4)   Patek Philippe Grey Gold Watch with Blue Face.

                        (5)   Patek Philippe Nautilus Rose Gold and Ruby Bezel.

                        (6)   Patek Philippe Platinum Watch with Emeralds.

                        (7)   Patek Philippe Platinum Watch with Sapphires.

                        (8)   Patek Philippe Rose Gold Watch with Black Face.


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    The assets subject to this motion are the assets the Defendant obtained as payment
  from selling jewelry stolen from the Victim or assets which the Defendant purchased
  with proceeds, he obtained from his mail fraud scheme. The United States is also in
  the process of returning all of the jewelry stolen directly from the Victim (and not
  involved in litigation). See Notice to the Court regarding stolen jewelry at Doc. 132.
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                   (9)    Patek Philippe Watch, Tiffany Blue Face.

                   (10)   Richard Mille RM65-01 Rose Gold Watch.

                   (11)   Rolex Daytona in 18 Karat White Gold on Rubber Strap.

                   (12)   Rolex Daytona Rainbow Watch.

                   (13)   Rolex Eye of the Tiger Watch.

                   (14)   Rolex GMT-Master II "Pepsi" Rose Gold Watch.

             b.    Gold Bars and Miscellaneous Items

                   (1)    Loose Watch Links.

                   (2)    Seven One-Kilogram Gold Bars.

                   (3)    Three One-Kilogram Gold Bars.

                   (4)    12 One-Kilogram Gold Bars.

                   (5)    Wilhelm Schimmel Grand Piano.

             c.    Vehicles

                   (1)    1963 Chevrolet Corvette Sting Ray 2 Door Coupe with
                          Split Window, VIN 30837S103339, Registered to Steven
                          Parker Adams.

                   (2)    2007 Bentley Continental GT Convertible, VIN:
                          SCBDR33W77C050110, Registered to John Lee.

                   (3)    2019 Mercedes-Benz GLS, VIN: 4JGDF6EE2KB222601,
                          Registered to John Jace.

                   (4)    2020 Mercedes-Benz GLE, VIN: 4JGFB5KB1LA004052,
                          registered to Steven Patrick Adams.

                   (5)    2021 Ford Mustang GT Coupe, VIN:
                          1FA6P8SJ7M5502318, Registered to Jonathan Joey Lee.


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                      (6)    Any funds obtained from the sale of a 2022 Porsche 911
                             Convertible, VIN: WP0CD2A92NS260860, Registered to
                             John Lee.

                      (7)    2022 Porsche Cayenne, VIN: WP1AA2AY8NDA07164,
                             Registered to John Lee.

         In support thereof, the United States submits the following.

                              MEMORANDUM OF LAW

  I.    Procedural History

        1.     On February 13, 2024, the Court entered an endorsed order granting

  the United States’ motion for preliminary order of forfeiture for the above assets.

  Doc. 93.

  II.   Notice to Parties with Potential Interest in Assets Subject to Forfeiture

        2.     The only parties with known, potential interests in any of the assets

  listed herein are Sophia Lee, John Jace, Steven Adams, Linda Adams, Mercedes-

  Benz Financial Services, Porsche Financial Services, GM Financial, and RT

  Jewelry.

        3.     Sophia Lee, John Jace, and Steven Adams all signed “Consent to

  Forfeitures” for the assets for which they have an interest. See Attachment A.

        4.     For those parties that did not sign a Consent to Forfeiture, in

  compliance with 21 U.S.C. § 853(n), the United States sent, via U.S. first-class mail

  and Federal Express, notice packages to advise the parties of these proceedings. The

  notice package included a Notice of Forfeiture, an Acknowledgment of Receipt of

  Notice of Forfeiture, the Preliminary Order of Forfeiture for Direct Assets, and a
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  self-addressed, stamped envelope. Pursuant to 21 U.S.C. § 853(n)(2), a person has

  within thirty days of his receipt of the notice package, or the date final publication,

  whichever is earlier, to petition the court for a hearing to adjudicate the validity of

  his alleged interest in property subject to forfeiture.

          A.     Linda Adams2

          5.     The notice package sent to Linda Adams via Federal Express (tracking

  number 7752 0753 4113) was delivered on February 21, 2024. See Attachment B. The

  notice package sent via first-class mail was not returned and there is no indication

  that it was not delivered. Despite proper notice, Linda Adams did not file a claim to

  contest the forfeiture of any of the gold bars.

          B.     Mercedes-Benz Financial Services

          6.     Notice of this forfeiture action was sent to Mercedes-Benz Financial

  Services for a potential interest in the 2019 Mercedes-Benz GLS. The Federal

  Express (tracking number 7752 0876 5011) was delivered on February 21, 2024. See

  Attachment C. The notice package sent via first-class mail was not returned and

  there is no indication that it was not delivered. Despite proper notice, Mercedes-Benz

  Financial Services did not file a claim for the vehicle, and the time to do so has

  expired.

          C.     GM Financial

          7.     Notice of this forfeiture action was sent to GM Financial for a potential


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      Linda Adams resided at the house where the gold bars were seized.
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  interest in the 2021 Ford Mustang GT Coupe. The Federal Express (tracking number

  7752 0900 6866) was delivered on February 21, 2024. See Attachment D. GM

  Financial also acknowledged receipt of the notice package. See Signed

  Acknowledgment by a representative of GM Financial at Doc. 61. Despite proper

  notice, GM Financial did not file a claim for the vehicle.

         D.     Porsche Financial Services

         8.     Notice of this forfeiture action was sent to Porsche Financial Services

  through its attorney for a potential interest in the 2022 Porsche Cayenne. The

  Federal Express (tracking number 7752 0984 8658) was delivered on February 21,

  2024. See Signed Acknowledgment by attorney David Caballero at Attachments E &

  E1. Despite notice, neither Porsche Financial Services nor attorney David Caballero

  filed a claim for the vehicle.3

         E.     Unknown Interested Parties

         9.     In accordance with the provisions of 21 U.S.C. § 853(n), the United

  States also published notice of the forfeiture, and of the intent to dispose of the assets,

  on the official government website, www.forfeiture.gov, beginning on February 17,

  2024, and continuing through March 14, 2024. Doc. 57. The publication gave notice


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    Department of Justice regulations give the Attorney General discretion to remit
  forfeited property to owners, victims, or lien holders under certain circumstances. See
  28 C.F.R., Part 9. In this case, the United States received a Petition for Remission
  from Porsche Financial Services requesting that the United States consider remitting
  payment for the secured loan it has against the vehicle once a Final Order of
  Forfeiture is entered pursuant to the regulations outlined in 28 C.F.R., Part 9.

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  to all third parties with a legal interest in the property to file with the Office of the

  Clerk–United States District Court, Sam Gibbons Federal Courthouse, 2nd Floor,

  801 North Florida Avenue, Tampa, Florida 33602–a petition to adjudicate their

  interests within 60 days of the first date of publication.

         10.    To date, no third party has filed a Petition to Adjudicate Interest in the

  subject assets, and the time for filing such Petitions has expired.

         11.    Consequently, the United States now seeks a final order of forfeiture for

  the subject assets.

  III.   Applicable Law

         When all third-party petitions have been adjudicated, or if no petitions are

  filed, it is appropriate to enter a final order of forfeiture in accordance with Rule

  32.2(c)(2) of the Federal Rules of Criminal Procedure. In addition, 21 U.S.C. §

  853(n)(7) provides that following the disposition of all petitions, or if no petitions are

  timely filed in accordance with 21 U.S.C. § 853(n)(2), “the United States shall have

  clear title to property that is the subject of the order of forfeiture and may warrant

  good title to any subsequent purchaser or transferee.” 21 U.S.C. § 853(n)(7).

         As required by section 853(n), the United States published notice of the

  forfeitures, and of its intent to dispose of the assets on the official government

  website, www.forfeiture.gov. Doc. 57. Pursuant to Rule 32.2(b)(6)(C), publication

  must take place as described in Supplemental Rule G(4)(a)(iii) of the Federal Rules



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  of Civil Procedure by any means described in Rule G(4)(a)(iv), which authorizes

  publication by internet.

         The internet publication notified all who might have an interest in the assets of

  the United States’ intent to dispose of such property and provided instructions on

  filing a petition to adjudicate an interest in the property. In accordance with the

  above-referenced provisions, a person or entity had 60 days from the first date of

  publication to file a petition with the District Court. Here, the first date of internet

  publication on www.forfeiture.gov was on February 17, 2024. Thus, the final date

  for filing a petition to adjudicate an interest in the property was on April 17, 2024,

  and the time for filing such petitions has expired.

         As discussed above, Sophia Lee, John Jace, and Steven Adams signed

  Consents to Forfeiture for the assets in which they had a potential interest. Linda

  Adams, Mercedes-Benz Financial Services, GM Financial, and Porsche Financial

  Services are the only other parties known to have any potential interest in the assets,

  and despite proper notice, none of the parties filed a claim to contest the forfeiture of

  the assets.

         Publication having been completed, and no claims or petitions to adjudicate

  an interest having been filed, it is now appropriate to enter a final order of forfeiture

  for the assets.




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  IV.    Conclusion

         WHEREFORE, the United States respectfully requests that, pursuant to 21

  U.S.C. § 853(n)(7), Rule 32.2(c)(2) of the Federal Rules of Criminal Procedure, this

  Court enter a final order, forfeiting to the United States all right, title and interest in

  the assets for disposition according to law, and vesting clear title to said property in

  the United States.

                                                    Respectfully Submitted,

                                                    ROGER B. HANDBERG
                                                    United States Attorney


                                          By:       s/Nicole M. Andrejko
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                               CERTIFICATE OF SERVICE

        I hereby certify that on June 19, 2024, I electronically filed the foregoing with

  the Clerk of the Court by using the CM/ECF system that will send a notice of

  electronic filing to counsel of record.


                                                 s/Nicole M. Andrejko
                                                 NICOLE M. ANDREJKO
                                                 Assistant United States Attorney




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